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   1   DANIEL M. PETROCELLI (S.B. #97802)
       dpetrocelli@omm.com
   2   MOLLY M. LENS (S.B. #283867)
       mlens@omm.com
   3   CAMERON H. BISCAY (S.B. #266786)
       cbiscay@omm.com
   4   O’MELVENY & MYERS LLP
       1999 Avenue of the Stars, 7th Floor
   5   Los Angeles, California 90067-6035
       Telephone: (310) 553-6700
   6   Facsimile: (310) 246-6779
   7   Attorneys for Twentieth Century Fox
       Television, a division of Twentieth Century
   8   Fox Film Corporation, and Fox Broadcasting
       Company
   9
  10                      UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12                                   WESTERN DIVISION
  13   TWENTIETH CENTURY FOX                     Case No. 2:15-cv-02158 PA(FFMx)
       TELEVISION, a division of
  14   TWENTIETH CENTURY FOX FILM                FOX’S MEMORANDUM OF
       CORPORATION, a Delaware company,          EVIDENTIARY OBJECTIONS TO
  15   et al.,                                   EVIDENCE CITED BY
                                                 DEFENDANT IN OPPOSITION
  16                     Plaintiffs,             TO MOTION FOR SUMMARY
                                                 JUDGMENT
  17         v.
                                                 Judge: Hon. Percy Anderson
  18   EMPIRE DISTRIBUTION, INC., a
       California corporation,
  19                                             Hearing Date: February 1, 2016
                         Defendant.              Time: 1:30 p.m.
  20                                             Place: Courtroom 15
  21
  22   And related counterclaims
  23
  24
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  28
                                                                 FOX’S MEMORANDUM OF
                                                                EVIDENTIARY OBJECTIONS
                                                           CASE NO. 2:15-CV-02158 PA(FFMX)
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   1         In support of its Reply Memorandum In Support Of Fox’s Notice Of Motion
   2   And Motion For Summary Judgment, plaintiffs and counterclaim defendants
   3   Twentieth Century Fox Television, a division of Twentieth Century Fox Film
   4   Corporation, and Fox Broadcasting Company (collectively, “Fox”) submit the
   5   following Memorandum Of Evidentiary Objections To Evidence Cited By
   6   Defendant In Opposition To Motion For Summary Judgment:
   7
   8   Objections To Defendant’s Evidence Contesting Fox’s Uncontroverted Facts
   9
  10   Fox’s Paragraph 1:
  11         (1) Objection to season 1 DVD of Empire, lodged with the Court as Ex. 11 to
  12   Lens Decl., Pilot at 33:16-23 (“You’re so pure only a couple hundred white kids in
  13   Brooklyn and San Francisco even know your stuff.”) on the basis that this statement
  14   does not speak to the setting of Empire and thus is irrelevant to the Court’s analysis
  15   of the artistic relevance of the title “Empire” to the show under Fox’s First
  16   Amendment defense. FRE 401.
  17         (2) Objection to Ryan Decl. ¶ 6 on the basis that these logos do not speak to
  18   the name of the fictional company in Empire. These are real-life logos for the
  19   Empire television series and its soundtrack. They are not fictional logos of the
  20   fictional company in the series, and thus are irrelevant to the Court’s analysis of the
  21   artistic relevance of the title “Empire” to the show under Fox’s First Amendment
  22   defense. FRE 401.
  23         (3) Objection to Bowler Decl. ¶ 4, Ex. 69, 48:22-25, 49:3-5, 71:22-24, 72:5-
  24   7, 72:9-10, 72:14, 72:24-73:13, 73:16-18, 73:23-74:17, 75:18-24, 83:25-84:7,
  25   84:11-21; 89:10-25, 90:1, 90:8-14, 91:2-3, 91:6-7, 91:10-17, 92:4-7, 92:10-19;
  26   93:1-11; Bywater Exs. 6, 7, on the basis that Mr. Bywater’s testimony and the
  27   related exhibits about Fox’s efforts to make the fictional world of Empire seem
  28
                                                                      FOX’S MEMORANDUM OF
                                                                     EVIDENTIARY OBJECTIONS
                                                                CASE NO. 2:15-CV-02158 PA(FFMX)
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   1   realistic do not suggest that Empire is based on real individuals or events and thus
   2   are not relevant to whether Empire Enterprises is a fictional company. FRE 401.
   3
   4   Fox’s Paragraph 3:
   5         (1) Objection to season 1 DVD of Empire, lodged with the Court as Ex. 11 to
   6   Lens Decl., Pilot at 6:31-39, 45:16-25, 7:15-20, 9:20-22, 27:32-34, 45:55, signage,
   7   symbols, and labels reflecting the name “Empire,” 33:16-33:23, on the basis that
   8   these scenes dealing with the name of the fictional company (and one with the
   9   quote, “You’re so pure only a couple hundred white kids in Brooklyn and San
  10   Francisco even know your stuff.”) do not speak to the wide-reaching and diverse
  11   business activities of the fictional company and thus are irrelevant to the Court’s
  12   analysis of the artistic relevance of the title “Empire” to the show under Fox’s First
  13   Amendment defense. FRE 401.
  14         (2) Objection to Ryan Decl. ¶ 6 on the basis that these logos do not speak to
  15   the wide-reaching and diverse business activities of the fictional company and thus
  16   are irrelevant to the Court’s analysis of the artistic relevance of the title “Empire” to
  17   the show under Fox’s First Amendment defense. FRE 401.
  18         (3) Objection to Bowler Decl. ¶ 4, Ex. 69, 48:22-25, 49:3-5, 71:22-24, 72:5-
  19   7, 72:9-10, 72:14, 72:24-73:13, 73:16-18, 73:23-74:17, 75:18-24, 83:25-84:7,
  20   84:11-21; 89:10-25, 90:1, 90:8-14, 91:2-3, 91:6-7, 91:10-17, 92:4-7, 92:10-19;
  21   93:1-11; Bywater Exs. 6, 7, on the basis that Mr. Bywater’s testimony and related
  22   exhibits about Fox’s efforts to make the fictional word seem realistic do not speak
  23   to the wide-reaching and diverse business activities of the fictional company and
  24   thus are irrelevant to the Court’s analysis of the artistic relevance of the title
  25   “Empire” to the show under Fox’s First Amendment defense. FRE 401.
  26
  27
  28
                                                                         FOX’S MEMORANDUM OF
                                                  -2-                   EVIDENTIARY OBJECTIONS
                                                                   CASE NO. 2:15-CV-02158 PA(FFMX)
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   1   Fox’s Paragraph 7:
   2         (1) Objection to Shami Decl. ¶¶ 84, 92-94, 100, 114 on the basis that Mr.
   3   Shami’s testimony, which largely describes consumers’ purported views, does not
   4   speak to representations about endorsement or affiliation made or not made by Fox
   5   and thus is irrelevant to the Court’s analysis of whether Fox explicitly misled
   6   consumers as to defendant’s endorsement or affiliation under Fox’s First
   7   Amendment defense. FRE 401.
   8         (2) Further objection to Shami Decl. ¶¶ 92-94, 100, 114 on the basis that Mr.
   9   Shami’s testimony contains improper opinion testimony from a lay witness about
  10   (a) what consumers do or “will” think or believe and why, and (b) purported
  11   business or reputational harm. FRE 701. Mr. Shami was not designated as an
  12   expert witness by defendant, yet he impermissibly provides opinion about
  13   consumer behavior and potential harm to one’s business or reputation, areas of
  14   specialized knowledge that Mr. Shami does not purport to have. Munchkin, Inc. v.
  15   Luv N’ Care, Ltd., 2015 WL 774046, at *3 (C.D. Cal. Feb. 24, 2015) (“Lay opinion
  16   testimony is not to provide specialized explanations or interpretations that an
  17   untrained layman could not make if perceiving the same acts or events.”) (quoting
  18   United States v. Connecticut, 297 F.3d 548, 554 (7th Cir. 2002)).
  19         (3) Further objection to Shami Decl. ¶¶ 92-94, 100, 114 on the basis that it
  20   contains impermissible legal conclusions about consumer confusion and harm to
  21   defendant and its reputation. FRE 701.
  22         (4) Further objection to Shami Decl. ¶¶ 92-94, 100 (citing Ex. 7) on the basis
  23   that it is speculative, describing what consumers “will” think, describing thoughts
  24   and intentions behind Twitter users’ tweets, describing hypothetical storylines on
  25   Empire, and speculating as to the harm defendant might face.
  26         (5) Further objection to Shami Decl. ¶¶ 92-94, 100 (citing Ex. 7), 114 on the
  27   basis that Mr. Shami lacks personal knowledge of these purported facts. FRE 602.
  28
                                                                      FOX’S MEMORANDUM OF
                                                -3-                  EVIDENTIARY OBJECTIONS
                                                                CASE NO. 2:15-CV-02158 PA(FFMX)
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   1   Mr. Shami does not know what consumers do or might think, and he does not know
   2   what a Twitter user thinks when posting a tweet.
   3         (6) Objection to Simon Decl. ¶¶ 2-3 on the basis that Mr. Simon’s testimony,
   4   describing individuals who purportedly asked about or believed that Empire was
   5   about defendant, does not speak to representations about endorsement or affiliation
   6   made or not made by Fox and thus is irrelevant to the Court’s analysis of whether
   7   Fox explicitly misled consumers as to defendant’s endorsement or affiliation under
   8   Fox’s First Amendment defense. FRE 401.
   9         (7) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb)
  10   ¶¶ 3, 34-45, 48 on the basis that the purported expert opinion relies entirely on
  11   unreliable hearsay statements. FRE 703; Marcel v. Placid Oil Co., 11 F.3d 563,
  12   567 n.6 (5th Cir.1994) (Experts may rely on hearsay “if the data is reliable and
  13   qualified under Rule 703.”); Soden v. Freightliner Corp., 714 F.2d 498, 503-06 (5th
  14   Cir. 1983).
  15         (8) Objection to McDaniels Decl. ¶¶ 15-17 on the basis that Mr. McDaniels’
  16   testimony, purporting to describe his views, does not speak to representations about
  17   endorsement or affiliation made or not made by Fox and thus is irrelevant to the
  18   Court’s analysis of whether Fox explicitly misled consumers as to defendant’s
  19   endorsement or affiliation under Fox’s First Amendment defense. FRE 401.
  20         (9) Further objection to McDaniels Decl. ¶¶ 15-17 on the basis that it
  21   contains improper opinion testimony from a lay witness about likelihood of
  22   confusion and similarities between defendant and Empire. FRE 701. Mr.
  23   McDaniels was not designated as an expert witness by defendant, yet he
  24   impermissibly provides opinions based on his purported specialized knowledge and
  25   experience. See United States v. Figueroa-Lopez, 125 F.3d 1241, 1246 (9th Cir.
  26   1997) (opinions based on “perceptions, education, training, and experience of the
  27   witness” are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion
  28   testimony is not to provide specialized explanations or interpretations that an
                                                                      FOX’S MEMORANDUM OF
                                                -4-                  EVIDENTIARY OBJECTIONS
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   1   untrained layman could not make if perceiving the same acts or events.”) (quoting
   2   Connecticut, 297 F.3d at 554).
   3          (10) Further objection to McDaniels Decl. ¶¶ 15-17 on the basis that it
   4   contains impermissible legal conclusions about likelihood of consumer confusion.
   5   FRE 701.
   6          (11) Objection to Douthit Decl. ¶ 14 on the basis that Mr. Douthit’s
   7   testimony, relating to how names and hashtags have purportedly damaged
   8   defendant, does not speak to representations about endorsement or affiliation made
   9   or not made by Fox and thus is irrelevant to the Court’s analysis of whether Fox
  10   explicitly misled consumers as to defendant’s endorsement or affiliation under
  11   Fox’s First Amendment defense. FRE 401.
  12          (12) Further objection to Douthit Decl. ¶ 14 on the basis that Mr. Douthit’s
  13   testimony contains improper opinion testimony from a lay witness about purported
  14   mistaken association between defendant and Empire and the alleged damage it
  15   causes defendant. FRE 701. Mr. Douthit was not designated as an expert witness
  16   by defendant, yet he impermissibly provides opinions based on his purported
  17   specialized knowledge and experience. See Figueroa-Lopez, 125 F.3d at 1246
  18   (opinions based on “perceptions, education, training, and experience of the witness”
  19   are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is
  20   not to provide specialized explanations or interpretations that an untrained layman
  21   could not make if perceiving the same acts or events.”) (quoting Connecticut, 297
  22   F.3d at 554).
  23          (13) Further objection to Douthit Decl. ¶ 14 on the basis that it contains
  24   impermissible legal conclusions about confusion and damage to defendant. FRE
  25   701.
  26          (14) Objection to Julien Decl. ¶¶ 22-26 on the basis that Ms. Julien’s
  27   testimony, relating how confusion may occur and damage may result at events
  28   where both parties are present, does not speak to representations about endorsement
                                                                      FOX’S MEMORANDUM OF
                                                 -5-                 EVIDENTIARY OBJECTIONS
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   1   or affiliation made or not made by Fox and thus is irrelevant to the Court’s analysis
   2   of whether Fox explicitly misled consumers as to defendant’s endorsement or
   3   affiliation under Fox’s First Amendment defense. FRE 401.
   4          (15) Further objection to Julien Decl. ¶¶ 22-26 on the basis that Ms. Julien’s
   5   testimony contains improper opinion testimony from a lay witness about potential
   6   confusion at industry events and resulting damage. FRE 701. Ms. Julien was not
   7   designated as an expert witness by defendant, yet she impermissibly provides
   8   opinions based on her purported specialized knowledge and experience. See
   9   Figueroa-Lopez, 125 F.3d at 1246 (9th Cir. 1997) (opinions based on “perceptions,
  10   education, training, and experience of the witness” are expert opinions); Munchkin,
  11   2015 WL 774046, at *3 (“Lay opinion testimony is not to provide specialized
  12   explanations or interpretations that an untrained layman could not make if
  13   perceiving the same acts or events.”) (quoting Connecticut, 297 F.3d at 554).
  14          (16) Further objection to Julien Decl. ¶¶ 22-26 on the basis that it contains
  15   impermissible legal conclusions about confusion and damage to defendant. FRE
  16   701.
  17          (17) Further objection to Julien Decl. ¶¶ 22-26 on the basis that it is
  18   speculative, describing that Empire “may hurt” defendant, speculating why
  19   Kendrick Lamar became successful, and speculating that it is “likely that other
  20   professionals who value honesty like I do will never give themselves the chance to
  21   work with [defendant].” (emphasis added).
  22          (18) Further objection to Julien Decl. ¶¶ 22-26 on the basis that Ms. Julien
  23   lacks personal knowledge of these purported facts. FRE 602. Ms. Julien does not
  24   know how professionals react to the fictional storylines in Empire.
  25
  26   Fox’s Fact 9:
  27          (1) Objection to Shami Decl. ¶¶ 136-41 on the basis that Mr. Shami’s
  28   testimony about appearances on television shows, the production of music videos
                                                                       FOX’S MEMORANDUM OF
                                                 -6-                  EVIDENTIARY OBJECTIONS
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   1   that have appeared on non-broadcast television networks, and plans to have artist
   2   appearances and advertising on television is irrelevant to the fact that defendant
   3   does not allege in its Counterclaims that it produces broadcast television
   4   programming or that it intends to expand into broadcast television programming.
   5   FRE 401.
   6         (2) Further objection to Shami Decl. ¶¶ 136-41 on the basis that Mr. Shami’s
   7   testimony that defendant’s music goods and services lend themselves naturally to
   8   television, and that Empire threatens defendant’s purported presence on television,
   9   contains improper opinion testimony from a lay witness about the television
  10   industry and potential harm to defendant. FRE 701. Mr. Shami was not designated
  11   as an expert witness by defendant, yet he impermissibly provides opinions about
  12   the television industry, an area of specialized knowledge Mr. Shami does not
  13   purport to have. Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is not
  14   to provide specialized explanations or interpretations that an untrained layman
  15   could not make if perceiving the same acts or events.”) (quoting Connecticut, 297
  16   F.3d at 554).
  17         (3) Further objection to Shami Decl. ¶¶ 136-41 on the basis that Mr. Shami’s
  18   testimony contains impermissible legal conclusions about damage to defendant.
  19   FRE 701.
  20
  21   Fox’s Fact 10:
  22         (1) Objection to Hobbs Decl. ¶¶ 4-5 on the basis that Mr. Hobbs’ testimony
  23   about defendant’s purported use of marks and defendant’s purported common law
  24   trademarks is irrelevant to the fact that none of defendant’s marks is federally
  25   registered. FRE 401.
  26         (2) Further objection to Hobbs Decl. ¶¶ 4-5 on the basis that Mr. Hobbs lacks
  27   personal knowledge of the nature and extent of Empire Distribution’s use of its
  28   purported marks since January 2010. FRE 602.
                                                                      FOX’S MEMORANDUM OF
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   1          (3) Further objection to Hobbs Decl. ¶ 5 on the basis that it contains an
   2   impermissible legal conclusion as to Empire Distribution’s trademark rights. FRE
   3   701.
   4
   5   Fox’s Fact 16:
   6          (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 32:32-33:10, 33:14-15, 33:21-
   7   34:5, on the basis that Mr. Bywater’s testimony about merchandising (e.g., hats or
   8   swag for promotional events) is irrelevant to whether Columbia Records acts as the
   9   record label for the Empire soundtrack music and distributes Empire’s original
  10   songs. FRE 401.
  11          (2) Objection to Bowler Decl. ¶ 4, Ex. 69 at 34:9-10, 34:13-14, 34:16-22, on
  12   the basis that the similarities between Glee and Empire are not relevant to whether
  13   Columbia Records acts as the record label for the Empire soundtrack music and
  14   distributes Empire’s original songs. FRE 401.
  15          (3) Objection to Bowler Decl. ¶ 4, Ex. 69, 163:1-3, 163:10-164:1, 164:5-7,
  16   164:11-164:24, 165:15-16, 165:19-21, 167:3-4, 167:7, on the basis that the number
  17   of sales, downloads, and streams of the Empire soundtrack is irrelevant to whether
  18   Columbia Records acts as the record label for the Empire soundtrack music and
  19   distributes Empire’s original songs. FRE 401.
  20          (4) Objection to Bowler Decl. ¶ 4, Ex. 69, 208:3-6 209:15-24, 210:4-5,
  21   210:8-14, and Bywater Ex. 30 on the basis that Mr. Bywater lacks personal
  22   knowledge of the intended meaning of Mr. Melnick’s statements. FRE 602.
  23   Further objection to Mr. Melnick’s statements in Bywater Ex. 30 on the basis that
  24   they are out of court statements offered to prove the truth of the matter asserted and
  25   thus constitute impermissible hearsay not subject to any exception. FRE 801.
  26          (5) Objection to Bowler Decl. ¶ 4, Ex. 69 (Exs. 3, 4 to Bywater Tr.) on the
  27   basis these pieces of evidence are out of court statements offered to prove the truth
  28
                                                                      FOX’S MEMORANDUM OF
                                                -8-                  EVIDENTIARY OBJECTIONS
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    1   of the matter asserted and thus constitute impermissible hearsay not subject to any
    2   exception. FRE 801.
    3
    4   Fox’s Fact 29:
    5         (1) Objection to Defendant’s Counterclaims, Lens Decl., Ex. 4 ¶¶ 9, 10, 14,
    6   15, 16, and 18, on the basis that vague allegations of broad advertising and
    7   advertising at events are irrelevant to the fact that defendant has not alleged in its
    8   Counterclaims that it advertises its marks on television, billboards, or print media.
    9   FRE 401.
   10
   11   Fox’s Fact 34:
   12         (1) Objection to Defendant’s Counterclaims, Lens Decl., Ex. 4 at p. 55 ¶ 23,
   13   on the basis that the image of a Google search result is irrelevant to the fact that
   14   screenshots of albums in Paragraph 23 of defendant’s Counterclaims do not show
   15   defendant’s marks, and that defendant highlighted the albums it released. FRE 401.
   16
   17   Fox’s Fact 39:
   18         (1) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb),
   19   including ¶¶ 3, 34-45, 48 on the basis that the purported expert opinion relies
   20   entirely on unreliable hearsay statements. FRE 703; Marcel, 11 F.3d at 567 n.6
   21   (Experts may rely on hearsay “if the data is reliable and qualified under Rule
   22   703.”); Soden, 714 F.2d at 503-06.
   23         (2) Objection to Bowler Decl. ¶ 7, Ex. 72 (Expert Report of Dr. Joel H.
   24   Steckel) at p. 9, ¶ 21, on the basis that Dr. Steckel’s comments about Mr. Johnson’s
   25   expert report are irrelevant to Dr. Jay’s expert report. FRE 401.
   26         (3) Objection to Bowler Decl. ¶¶ 7-8, Exs. 72-73, on the basis that the
   27   purported expert reports, when cited as a whole, contain information irrelevant to
   28   Dr. Jay’s expert report. FRE 401. Further objection that this wholesale citation of
                                                                         FOX’S MEMORANDUM OF
                                                  -9-                   EVIDENTIARY OBJECTIONS
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    1   purported expert reports that do not support or controvert this proposed statement of
    2   undisputed fact violates the Court’s Scheduling Order. Dkt. 23 at 4:12-17.
    3         (4) Objection to McDaniels Decl. ¶¶ 15-17 on the basis that it contains
    4   improper opinion testimony from a lay witness about likelihood of confusion and
    5   similarities between defendant and Empire. FRE 701. Mr. McDaniels was not
    6   designated as an expert witness by defendant, yet he impermissibly provides
    7   opinions based on his purported specialized knowledge and experience. See
    8   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
    9   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
   10   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
   11   interpretations that an untrained layman could not make if perceiving the same acts
   12   or events.”) (quoting Connecticut, 297 F.3d at 554).
   13         (5) Further objection to McDaniels Decl. ¶¶ 15-17 on the basis that it
   14   contains impermissible legal conclusions about likelihood of consumer confusion.
   15   FRE 701.
   16         (6) Objection to Douthit Decl. ¶ 14 on the basis that Mr. Douthit’s testimony
   17   contains improper opinion testimony from a lay witness about purported mistaken
   18   association between defendant and Empire and the alleged damage it causes
   19   defendant. FRE 701. Mr. Douthit was not designated as an expert witness by
   20   defendant, yet he impermissibly provides opinions based on his purported
   21   specialized knowledge and experience. See Figueroa-Lopez, 125 F.3d at 1246
   22   (opinions based on “perceptions, education, training, and experience of the witness”
   23   are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is
   24   not to provide specialized explanations or interpretations that an untrained layman
   25   could not make if perceiving the same acts or events.”) (quoting Connecticut, 297
   26   F.3d at 554).
   27
   28
                                                                      FOX’S MEMORANDUM OF
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    1          (7) Further objection to Douthit Decl. ¶ 14 on the basis that it contains
    2   impermissible legal conclusions about confusion and damage to defendant. FRE
    3   701.
    4          (8) Objection to Julien Decl. ¶¶ 22-26 on the basis that Ms. Julien’s
    5   testimony contains improper opinion testimony from a lay witness about potential
    6   confusion and resulting damage. FRE 701. Ms. Julien was not designated as an
    7   expert witness by defendant, yet she impermissibly provides opinions based on her
    8   purported specialized knowledge and experience. See Figueroa-Lopez, 125 F.3d at
    9   1246 (opinions based on “perceptions, education, training, and experience of the
   10   witness” are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion
   11   testimony is not to provide specialized explanations or interpretations that an
   12   untrained layman could not make if perceiving the same acts or events.”) (quoting
   13   Connecticut, 297 F.3d at 554).
   14          (9) Further objection to Julien Decl. ¶¶ 22-26 on the basis that it contains
   15   impermissible legal conclusions about confusion and damage to defendant. FRE
   16   701.
   17          (10) Further objection to Julien Decl. ¶¶ 22-26 on the basis that it is
   18   speculative, describing that Empire “may hurt” defendant, speculating why
   19   Kendrick Lamar became successful, and speculating that it is “likely that other
   20   professionals who value honesty like I do will never give themselves the chance to
   21   work with [defendant].” (emphasis added).
   22          (11) Further objection to Julien Decl. ¶¶ 22-26 on the basis that Ms. Julien
   23   lacks personal knowledge of these purported facts. FRE 602. Ms. Julien does not
   24   know how professionals react to the fictional storylines in Empire.
   25          (12) Objection to Shami Decl. ¶¶ 92-94, 100, 114 on the basis that Mr.
   26   Shami’s testimony contains improper opinion testimony from a lay witness about
   27   (a) what consumers do or “will” think or believe and why, and (b) purported
   28   business or reputational harm. FRE 701. Mr. Shami was not designated as an
                                                                        FOX’S MEMORANDUM OF
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    1   expert witness by defendant, yet he impermissibly provides opinion about
    2   consumer behavior and potential harm to one’s business or reputation, areas of
    3   specialized knowledge that Mr. Shami does not purport to have. Munchkin, 2015
    4   WL 774046, at *3 (“Lay opinion testimony is not to provide specialized
    5   explanations or interpretations that an untrained layman could not make if
    6   perceiving the same acts or events.”) (quoting Connecticut, 297 F.3d at 554).
    7         (13) Further objection to Shami Decl. ¶¶ 92-94, 100, 114 on the basis that it
    8   contains impermissible legal conclusions about consumer confusion and harm to
    9   defendant and its reputation. FRE 701.
   10         (14) Further objection to Shami Decl. ¶¶ 92-94, 100 (citing Ex. 7) on the
   11   basis that it is speculative, describing what consumers “will” think, describing
   12   thoughts and intentions behind Twitter users’ tweets, describing hypothetical
   13   storylines on Empire, and speculating as to the harm defendant might face.
   14         (15) Further objection to Shami Decl. ¶¶ 92-94, 100 (citing Ex. 7), 114 on the
   15   basis that Mr. Shami lacks personal knowledge of these purported facts. FRE 602.
   16   Mr. Shami does not know what consumers do or might think, and he does not know
   17   what a Twitter user thinks when posting a tweet.
   18
   19   Objections To Defendant’s Evidence Supporting Its Additional Facts
   20
   21   Defendant’s Fact 42:
   22         (1) Objection to Hobbs Decl. ¶ 4 on the basis that Mr. Hobbs lacks personal
   23   knowledge of the nature and extent of Empire Distribution’s use of its purported
   24   marks since January 2010. FRE 602.
   25
   26   Defendant’s Fact 43:
   27         (1) Objection to Hobbs Decl. ¶ 5 on the basis that Mr. Hobbs lacks personal
   28   knowledge of the nature and extent of Empire Distribution’s use of its purported
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    1   marks since January 2010. FRE 602. Further objection to Hobbs Decl. ¶ 5 on the
    2   basis that it contains an impermissible legal conclusion as to Empire Distribution’s
    3   trademark rights. FRE 701.
    4
    5   Defendant’s Fact 48:
    6         (1) Objection to Hobbs Decl. ¶¶ 9-10 on the basis that Mr. Hobbs lacks
    7   personal knowledge of the USPTO’s reasons for approving the applications for
    8   publication. FRE 602. Further objection to Hobbs Decl. ¶¶ 9-10 on the basis that
    9   the USPTO’s approval of the applications for publication (following which there
   10   will be an objection period) is not relevant to the merits of Fox’s motion or this
   11   dispute. FRE 401.
   12
   13   Defendant’s Fact 50:
   14         (1) Objection to Hobbs Decl. ¶ 13 on the basis that it contains an
   15   impermissible legal conclusion as to the use of the marks that is “protect[ed] and
   16   permit[ted]” based on defendant’s trademark applications. FRE 701. Further
   17   objection to Hobbs Decl. ¶ 13 on the basis that defendant’s filing of its trademark
   18   applications “without claim to any particular font style, size, design or color” is not
   19   relevant to the merits of Fox’s motion or this dispute. FRE 401.
   20
   21   Defendant’s Fact 51:
   22         (1) Objection to Hobbs Decl. ¶ 14 on the basis that defendant does not
   23   dispute that at least some of the over 650 registered or pending applications for
   24   “empire” related marks identified by Fox are related to the services and products
   25   offered by defendant and thus whether others of these applications are unrelated to
   26   the services and products offered by defendant is not relevant to the merits of Fox’s
   27   motion or this dispute. FRE 401.
   28   Defendant’s Fact 52:
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    1          (1) Objection to Hobbs Decl. ¶ 15 on the basis that it contains an
    2   impermissible legal conclusion as to the circumstances under which trademarks are
    3   “entitled to trademark rights or protection.” FRE 701. Further objection to Hobbs
    4   Decl. ¶ 15 on the basis that defendant does not contend that the supporting marks
    5   for all of the over 650 registered or pending applications for “empire” related marks
    6   identified by Fox are no longer in use and thus whether some of these marks are no
    7   longer in use is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
    8
    9   Defendant’s Fact 53:
   10          (1) Objection to Hobbs Decl. ¶ 16, Ex. 2 on the basis that whether or not Fox
   11   has claimed trademark rights in “Empire” is not relevant to the Court’s First
   12   Amendment analysis under Rogers v. Grimaldi and thus is not relevant to the merits
   13   of Fox’s motion or this dispute. See Rogers, 75 F.2d 994, 998 (2d Cir. 1989); FRE
   14   401.
   15
   16   Defendant’s Fact 54:
   17          (1) Objection to Hobbs Decl. ¶ 17 on the basis that it contains an
   18   impermissible legal conclusion as to Fox’s purported “pattern of filing trademark
   19   applications for the names of television programs that it broadcasts…” FRE 701.
   20   Further objection to Hobbs Decl. ¶ 17 on the basis that Fox’s trademark
   21   applications, especially those relating to television programs other than Empire, are
   22   not relevant to Fox’s motion or this dispute. FRE 401.
   23
   24   Defendant’s Fact 55:
   25          (1) Objection to Hobbs Decl. ¶ 18 on the basis that it contains an
   26   impermissible legal conclusion as to Fox’s purported “pattern of filing trademark
   27   opposition and cancellation actions before the Trademark Trial and Appeal Board
   28   (‘TTAB’) of the USPTO arising out of the names of television programs that it
                                                                       FOX’S MEMORANDUM OF
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    1   broadcasts…” FRE 701. Further objection to Hobbs Decl. ¶ 18 on the basis that
    2   Fox’s trademark opposition and cancellation actions, especially those relating to
    3   television programs other than Empire, are not relevant to Fox’s motion or this
    4   dispute. FRE 401.
    5
    6   Defendant’s Fact 56:
    7         (1) Objection to Shami Decl. ¶¶ 6-21 on the basis that it contains improper
    8   opinion testimony from a lay witness on Empire Distribution’s purported reputation
    9   and influence. FRE 701. Mr. Shami was not designated as an expert witness by
   10   defendant, yet he impermissibly provide opinions as to his own company’s
   11   reputation based on his purported specialized knowledge and experience. See
   12   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
   13   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
   14   774046, at *3) (“Lay opinion testimony is not to provide specialized explanations
   15   or interpretations that an untrained layman could not make if perceiving the same
   16   acts or events.”) (quoting Connecticut., 297 F.3d 548, 554 (7th Cir. 2002)).
   17
   18   Defendant’s Fact 57:
   19         (1) Objection to Shami Decl. ¶¶ 7, 9-19 on the basis that it contains improper
   20   opinion testimony from a lay witness concerning the recognition of artists with
   21   whom Empire Distribution has worked. FRE 701. Mr. Shami was not designated
   22   as an expert witness by defendant, yet he impermissibly provides opinions
   23   concerning the recognition of various artists based on his purported specialized
   24   knowledge and experience. See Figueroa-Lopez, 125 F.3d at 1246 (opinions based
   25   on “perceptions, education, training, and experience of the witness” are expert
   26   opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is not to
   27   provide specialized explanations or interpretations that an untrained layman could
   28   not make if perceiving the same acts or events.”) (quoting Connecticut, 297 F.3d at
                                                                      FOX’S MEMORANDUM OF
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    1   554).
    2
    3   Defendant’s Fact 58:
    4           (1) Objection to Shami Decl. ¶¶ 8 on the basis that it contains improper
    5   opinion testimony from a lay witness as to Empire Distribution’s role in Kendrick
    6   Lamar’s career. FRE 701. Mr. Shami was not designated as an expert witness by
    7   defendant, yet he impermissibly provide conclusory opinions as to his own
    8   company’s role with respect to Kendrick Lamar’s career based on his purported
    9   specialized knowledge and experience. See Figueroa-Lopez, 125 F.3d at 1246
   10   (opinions based on “perceptions, education, training, and experience of the witness”
   11   are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is
   12   not to provide specialized explanations or interpretations that an untrained layman
   13   could not make if perceiving the same acts or events.”) (quoting Connecticut, 297
   14   F.3d at 554).
   15
   16   Defendant’s Fact 59:
   17           (1) Objection to Shami Decl. ¶ 20 on the basis that Mr. Shami’s recitation of
   18   what appears on Spotify’s list of the top 100 hip-hop songs of 2015 is an out of
   19   court statement offered to prove the truth of the matter asserted and thus constitutes
   20   impermissible hearsay not subject to any exception. FRE 801, 802.
   21
   22   Defendant’s Fact 60:
   23           (1) Objection to Shami Decl. ¶ 20 on the basis that Mr. Shami’s recitation of
   24   what appears on Rolling Stone’s list of the 40 Best Rap Albums of 2015,
   25   Pitchfork’s Best Songs of 2015, and Pigeons & Planes’ New Artists for 2016 lists is
   26   an out of court statement offered to prove the truth of the matter asserted and thus
   27   constitutes impermissible hearsay not subject to any exception. FRE 801, 802.
   28
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    1   Defendant’s Fact 68:
    2          (1) Objection to Shami Decl. ¶ 37 on the basis that advertising and publicity
    3   campaigns focused on Empire Distribution’s artists, without reference to Empire
    4   Distribution’s marks, are not relevant to Fox’s motion or this dispute. FRE 401.
    5
    6   Defendant’s Fact 69:
    7          (1) Objection to Shami Decl. ¶ 37 on the basis that amounts spent marketing,
    8   advertising, and promoting Empire Distribution’s artists, without reference to
    9   Empire Distribution’s marks, are not relevant to Fox’s motion or this dispute. FRE
   10   401.
   11
   12   Defendant’s Fact 71:
   13          (1) Objection to Shami Decl. ¶¶ 35-61, McDaniels Decl. ¶¶ 4-8, Douthit
   14   Decl. ¶¶ 11-14, and Julien Decl. ¶¶ 7-11 on the basis that they contain improper
   15   opinion testimony from lay witnesses on Empire Distribution’s purported
   16   reputation and influence. FRE 701. None of these individuals were designated as
   17   expert witnesses by defendant, yet they impermissibly provide opinions based on
   18   their purported specialized knowledge and experience. See United States v.
   19   Figueroa-Lopez, 125 F.3d 1241 (9th Cir. 1997) (opinions based on “perceptions,
   20   education, training, and experience of the witness” are expert opinions); Munchkin,
   21   2015 WL 774046, at *3 (“Lay opinion testimony is not to provide specialized
   22   explanations or interpretations that an untrained layman could not make if
   23   perceiving the same acts or events.”) (quoting Connecticut, 297 F.3d at 554 (7th
   24   Cir. 2002)).
   25
   26   Defendant’s Fact 73:
   27          (1) Objection to Shami Decl. ¶¶ 62-83, McDaniels Decl. ¶¶ 9-14, Douthit
   28   Decl. ¶¶ 7-10, and Julien Decl. ¶¶ 12-21 on the basis that they contain improper
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    1   opinion testimony from lay witnesses on the importance of record labels to
    2   consumers in the urban music genre. FRE 701. None of these individuals were
    3   designated as expert witnesses by defendant, yet they impermissibly provide
    4   opinions based on their purported specialized knowledge and experience. See
    5   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
    6   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
    7   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
    8   interpretations that an untrained layman could not make if perceiving the same acts
    9   or events.”) (quoting Connecticut, 297 F.3d at 554).
   10         (2) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb)
   11   ¶¶ 3, 12-22, 46 on the basis that the purported expert opinion relies entirely on
   12   unreliable hearsay statements. FRE 703; Marcel, 11 F.3d at 567 n.6 (Experts may
   13   rely on hearsay “if the data is reliable and qualified under Rule 703.”); Soden, 714
   14   F.2d at 503-06.
   15
   16   Defendant’s Fact 74:
   17         (1) Objection to Shami Decl. ¶¶ 90, 93 on the basis that its assertion that
   18   “Empire’s reputation is being seriously damaged by Fox’s unauthorized use of the
   19   “Empire” name for the Empire Series and Empire Series Music…” is an
   20   argumentative legal conclusion and conclusory statement. FRE 701; Hollander v.
   21   American Cyanamid Co., 172 F.3d 192,198 (2d. Cir. 1999) (conclusory and
   22   argumentative statements should be stricken).
   23
   24   Defendant’s Fact 75:
   25         (1) Objection to Shami Decl. ¶¶ 95-113 on the basis that its assertion that
   26   “Empire and Fox are competing for the sale of the same type of music to the same
   27   customers in the same places” is an argumentative legal conclusion and conclusory
   28   statement. FRE 701; Hollander, 172 F.3d at 198 (conclusory and argumentative
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    1   statements should be stricken).
    2
    3   Defendant’s Fact 76:
    4         (1) Objection to Shami Decl. ¶¶ 95-113 on the basis that its assertion that
    5   “Empire and Fox are competing for the sale of the same type of music to the same
    6   customers in the same places” is an argumentative legal conclusion and conclusory
    7   statement. FRE 701; Hollander, 172 F.3d at 198 (conclusory and argumentative
    8   statements should be stricken).
    9
   10   Defendant’s Fact 77:
   11         (1) Objection to Shami Decl. ¶¶ 84, 92-94, 100, and 114, McDaniels Decl. ¶¶
   12   15-17, Douthit Decl. ¶¶ 14, Simon Decl. ¶¶ 2-3 and Julien Decl. ¶¶ 22-24 on the
   13   basis that they contain improper opinion testimony from lay witnesses on the
   14   likelihood of consumer confusion. FRE 701. None of these individuals were
   15   designated as expert witnesses by defendant, yet they impermissibly provide
   16   opinions based on their purported specialized knowledge and experience. See
   17   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
   18   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
   19   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
   20   interpretations that an untrained layman could not make if perceiving the same acts
   21   or events.”) (quoting Connecticut, 297 F.3d 548 at 554 ).
   22
   23   Defendant’s Fact 78:
   24         (1) Objection to Shami Decl. ¶¶ 115-135, McDaniels Decl. ¶¶ 15-17, Douthit
   25   Decl. ¶¶ 14, Simon Decl. ¶¶ 2-3 and Julien Decl. ¶¶ 22-26 on the basis that they
   26   contain improper opinion testimony from lay witnesses as to the purported
   27   existence of “actual” confusion. FRE 701. None of these individuals were
   28   designated as expert witnesses by defendant, yet they impermissibly provide
                                                                      FOX’S MEMORANDUM OF
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    1   opinions based on their purported specialized knowledge and experience. See.
    2   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
    3   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
    4   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
    5   interpretations that an untrained layman could not make if perceiving the same acts
    6   or events.”) (quoting Connecticut, 297 F.3d at 554).
    7         (2) Objection to Shami Decl. ¶¶ 121, Ex. 10; 124, Ex. 13; 125, Ex. 14 on the
    8   basis that these pieces of evidence involve out of court statements offered to prove
    9   the truth of the matter asserted and thus constitute impermissible hearsay not
   10   subject to any exception. FRE 801, 802.
   11         (3) Objection to Julien Decl. ¶¶ 22-26; Douthit Decl. ¶ 14; McDaniels Decl.
   12   ¶¶ 15-17; Simon Decl. ¶¶ 2-3; Shami Decl. ¶¶ 84; 92-94; 100; 114-118; 119, Ex. 8;
   13   120, Ex. 9; 121, Ex. 10; 122, Ex. 11; 123, Ex. 12; 124, Ex. 13; 125, Ex. 14; 126,
   14   Ex. 15; 127, Ex. 16; 128, Ex. 17; 129, Ex. 18; 130, Ex. 19; 131, Ex. 20; 132, Ex.
   15   21; 133, Ex. 22; 134, Ex. 23; 135, Ex. 24 on the basis that none of the cited
   16   evidence involves mistaken purchasing decisions and thus is irrelevant to the issue
   17   of consumer confusion, the merits of Fox’s motion, and this dispute. FRE 401; see
   18   Bosley Med. Inst., Inc. v. Kremer, 403 F.3d 672, 677 (9th Cir. 2005).
   19         (4) Objection to Shami Decl. ¶¶ 119, Ex. 8; 129, Ex. 18; 133, Ex. 22; 134,
   20   Ex. 23; 135, Ex. 24 on the basis that the comments show carelessness or
   21   inattentiveness, but no indication that the author is confused regarding source, and
   22   thus are irrelevant to the issue of consumer confusion, the merits of Fox’s motion,
   23   and this dispute. FRE 401.
   24         (5) Objection to Julien Decl. ¶¶ 22-26; Douthit Decl. ¶ 14; McDaniels Decl.
   25   ¶¶ 15-17; Simon Decl. ¶¶ 2-3; Shami Decl. ¶¶ 84; 92-94; 100; 114-18; 120, Ex. 9;
   26   121, Ex. 10; 122, Ex. 11; 123, Ex. 12; 124, Ex. 13; 125, Ex. 14; 131, Ex. 20; 132,
   27   Ex. 21 on the basis that evidence of confusion from or comments and inquiries by
   28   individuals with pre-existing relationships with the party alleging infringement are
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    1   irrelevant to the issue of consumer confusion, the merits of Fox’s motion, and this
    2   dispute. FRE 401; see Art Attacks Ink, LLC v. MGA Entm’t Inc., 581 F.3d 1138,
    3   1147 (9th Cir. 2009).
    4           (6) Objection to Shami Decl. ¶ 122, Ex. 11 on the basis that the comment
    5   shows only that the individual was reminded of defendant, not that the individual
    6   was confused, and thus is irrelevant to the issue of consumer confusion, the merits
    7   of Fox’s motion, and this dispute. FRE 401; see M2 Software, Inc. v. Madacy
    8   Entm’t, 421 F.3d 1073, 1083 (9th Cir. 2005). In fact, the individual’s inclusion of
    9   “lol” to his tweet (a fact which Mr. Shami fails to share in his declaration)
   10   demonstrates that his tweet is a joke and there is no confusion.
   11           (7) Objection to Shami Decl. ¶¶ 128, Ex. 17; 130, Ex. 19 on the basis that the
   12   comments show only that the individual was reminded of Empire, not that the
   13   individual was confused, and thus are irrelevant to the issue of consumer confusion,
   14   the merits of Fox’s motion, and this dispute. FRE 401; see Madacy, 421 F.3d at
   15   1083.
   16           (8) Objection to Shami Decl. ¶¶ 131, Ex. 20; 132, Ex. 21; 135, Ex. 24 on the
   17   basis that the comments show the individual knows the difference between
   18   defendant and Empire and thus are irrelevant to the issue of consumer confusion,
   19   the merits of Fox’s motion, and this dispute. FRE 401. The comment in exhibit 20
   20   shows that the individual believes defendant, as someone with connections in the
   21   entertainment industry, could “help get” an audition on Empire, not that defendant
   22   is associated with Empire. Use of the word “they” (rather than “you”) further
   23   indicates this individual knows defendant and Empire are not associated. The
   24   comment in exhibit 21 shows the individual knows the difference between
   25   defendant and Empire by confirming his knowledge that “you guys aren’t working
   26   with Empire (the TV show).” The comment in exhibit 24 correctly identifies
   27   @EMPIRE as a record label and @EmpireFOX as a show, demonstrating no
   28   confusion.
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    1          (10) Objection to Julien Decl. ¶¶ 22-26; Douthit Decl. ¶ 14; McDaniels Decl.
    2   ¶¶ 15-17; Shami Decl. ¶¶ 92-94; 100; 114-19 on the basis that the evidence contains
    3   impermissible legal conclusions about consumer confusion. FRE 701.
    4          (11) Objection to Julien Decl. ¶¶ 22-26; Shami Decl. ¶¶ 92-94, 100 on the
    5   basis that the declarant lacks personal knowledge of these purported facts. FRE
    6   602.
    7          (12) Objection to Julien Decl. ¶¶ 22-26; Shami Decl. ¶ 92-94; 100; 119 on
    8   the basis that the declarant’s testimony is speculative.
    9
   10   Defendant’s Fact 79:
   11          (1) Objection to Shami Decl. ¶¶ 84, 92-94, 100, and 114-135, McDaniels
   12   Decl. ¶¶ 15-17, Douthit Decl. ¶ 14, Simon Decl. ¶¶ 2-3 and Julien Decl. ¶¶ 22-26
   13   on the basis that they contain improper opinion testimony from lay witnesses on the
   14   purported existence of consumer confusion. FRE 701. None of these individuals
   15   were designated as expert witnesses by defendant, yet they impermissibly provide
   16   opinions based on their purported specialized knowledge and experience. See
   17   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
   18   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
   19   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
   20   interpretations that an untrained layman could not make if perceiving the same acts
   21   or events.”) (quoting Connecticut, 297 F.3d at 554).
   22          (2) See supra at Defendant’s Fact 78,Objections (2)-(12).
   23
   24   Defendant’s Fact 80:
   25          (1) Objection to Shami Decl. ¶¶ 84, 92-94, 100, and 114-135, McDaniels
   26   Decl. ¶¶ 15-17, Douthit Decl. ¶ 14, Simon Decl. ¶¶ 2-3 and Julien Decl. ¶¶ 22-26
   27   on the basis that they contain improper opinion testimony from lay witnesses on the
   28   purported existence of consumer confusion. FRE 701. None of these individuals
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    1   were designated as expert witnesses by defendant, yet they impermissibly provide
    2   opinions based on their purported specialized knowledge and experience. See
    3   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
    4   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
    5   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
    6   interpretations that an untrained layman could not make if perceiving the same acts
    7   or events.”) (quoting Connecticut, 297 F.3d at 554).
    8         (2) See supra at Defendant’s Fact 78,Objections (2)-(12).
    9
   10   Defendant’s Fact 81:
   11         (1) Objection to Shami Decl. ¶¶ 84, 92-94, 100, and 114-35, McDaniels
   12   Decl. ¶¶ 15-17, Douthit Decl. ¶ 14, Simon Decl. ¶¶ 2-3 and Julien Decl. ¶¶ 22-26
   13   on the basis that they contain improper opinion testimony from lay witnesses on the
   14   purported existence of consumer confusion. FRE 701. None of these individuals
   15   were designated as expert witnesses by defendant, yet they impermissibly provide
   16   opinions based on their purported specialized knowledge and experience. See
   17   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
   18   training, and experience of the witness” are expert opinions); Munchkin, Inc. 2015
   19   WL 774046, at *3 (“Lay opinion testimony is not to provide specialized
   20   explanations or interpretations that an untrained layman could not make if
   21   perceiving the same acts or events.”) (quoting Connecticut, 297 F.3d at 554).
   22         (2) See supra at Defendant’s Fact 78,Objections (2)-(12).
   23
   24   Defendant’s Fact 82:
   25         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, Ross Decl. ¶ 3, and Bywater Decl.
   26   ¶ 3 on the basis that whether or not Fox has used the “Empire” name as a “source-
   27   identifier” outside of the construct of the Empire series is not relevant to the merits
   28   of Fox’s motion or this dispute. FRE 401. Defendant’s opposition cites no law to
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    1   support its attempt to create a new “source-identifier” exception to the First
    2   Amendment protection for expressive works under Rogers v. Grimaldi, 875 F.2d
    3   994 (2nd Cir. 1989). See Opp. at 4-9.
    4
    5   Defendant’s Fact 83:
    6         (1) Objection to Shami Decl. ¶¶ 136-41 on the basis that Mr. Shami’s
    7   appearance on one episode of a reality television show, participation in the
    8   production of music videos that have appeared on television, and vague plans to
    9   have Empire Distribution’s artists appear on television is not relevant to the merits
   10   of Fox’s motion or this dispute. FRE 401.
   11
   12   Defendant’s Fact 86:
   13         (1) Objection that this purported “fact” is mere argument, in violation of the
   14   Court’s Scheduling Order (Dkt. No. 23).
   15
   16   Defendant’s Fact 87:
   17         (1) Objection that this purported “fact” is mere argument, in violation of the
   18   Court’s Scheduling Order (Dkt. No. 23).
   19
   20   Defendant’s Fact 88:
   21         (1) Objection that this purported “fact” is mere argument, in violation of the
   22   Court’s Scheduling Order (Dkt. No. 23).
   23
   24   Defendant’s Fact 90:
   25         (1) Objection that this purported “fact” is mere argument, in violation of the
   26   Court’s Scheduling Order (Dkt. No. 23).
   27
   28
                                                                       FOX’S MEMORANDUM OF
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    1   Defendant’s Fact 91:
    2         (1) Objection that this purported “fact” is mere argument, in violation of the
    3   Court’s Scheduling Order (Dkt. No. 23).
    4
    5   Defendant’s Fact 92:
    6         (1) Objection that this purported “fact” is mere argument, in violation of the
    7   Court’s Scheduling Order (Dkt. No. 23).
    8
    9   Defendant’s Fact 93:
   10         (1) Objection that this purported “fact” is mere argument, in violation of the
   11   Court’s Scheduling Order (Dkt. No. 23).
   12
   13   Defendant’s Fact 94:
   14         (1) Objection to Shami Decl. ¶¶ 62-83, McDaniels Decl. ¶¶ 9-14, Douthit
   15   Decl. ¶¶ 7-10, and Julien Decl. ¶¶ 12-21 on the basis that they contain improper
   16   opinion testimony from lay witnesses on the importance of record labels to
   17   consumers of rap, hip hop, and R&B music. FRE 701. None of these individuals
   18   were designated as expert witnesses by defendant, yet they impermissibly provide
   19   opinions based on their purported specialized knowledge and experience. See
   20   Figueroa-Lopez, 125 F.3d at 1246 (opinions based on “perceptions, education,
   21   training, and experience of the witness” are expert opinions); Munchkin, 2015 WL
   22   774046, at *3 (“Lay opinion testimony is not to provide specialized explanations or
   23   interpretations that an untrained layman could not make if perceiving the same acts
   24   or events.”) (quoting Connecticut, 297 F.3d at 554 ).
   25         (2) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb)
   26   ¶¶ 3, 12-22, 46 on the basis that the purported expert opinion relies entirely on
   27   unreliable hearsay statements. FRE 703; Marcel, 11 F.3d at 567 n.6 (Experts may
   28   rely on hearsay “if the data is reliable and qualified under Rule 703.”); Soden, 714
                                                                       FOX’S MEMORANDUM OF
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    1   F.2d at 503-06.
    2
    3   Defendant’s Fact 95:
    4         (1) Objection to Shami Decl. ¶¶ 6-21, 35-61, McDaniels Decl. ¶¶ 4-8,
    5   Douthit Decl. ¶¶ 11-14, and Julien Decl. ¶¶ 7-11 on the basis that they contain
    6   improper opinion testimony from lay witnesses on Empire Distribution’s purported
    7   reputation and influence. FRE 701. None of these individuals were designated as
    8   expert witnesses by defendant, yet they impermissibly provide opinions based on
    9   their purported specialized knowledge and experience. See Figueroa-Lopez, 125
   10   F.3d at 1246 (opinions based on “perceptions, education, training, and experience
   11   of the witness” are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay
   12   opinion testimony is not to provide specialized explanations or interpretations that
   13   an untrained layman could not make if perceiving the same acts or events.”)
   14   (quoting Connecticut, 297 F.3d at 554).
   15         (2) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb)
   16   ¶¶ 3, 22-33, 47 on the basis that the purported expert opinion relies on unreliable
   17   hearsay statements. FRE 703; Marcel, 11 F.3d at 567 n.6 (Experts may rely on
   18   hearsay “if the data is reliable and qualified under Rule 703.”); Soden, 714 F.2d at
   19   503-06.
   20
   21   Defendant’s Fact 97:
   22         (1) Objection to Shami Decl. ¶¶ 92-94, and 100, McDaniels Decl. ¶¶ 15-17,
   23   Douthit Decl. ¶¶ 14, and Julien Decl. ¶¶ 22-24 on the basis that they contain
   24   improper opinion testimony from lay witnesses on the likelihood of consumer
   25   confusion. FRE 701. None of these individuals were designated as expert
   26   witnesses by defendant, yet they impermissibly provide opinions based on their
   27   purported specialized knowledge and experience. See Figueroa-Lopez, 125 F.3d at
   28   1246 (opinions based on “perceptions, education, training, and experience of the
                                                                       FOX’S MEMORANDUM OF
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    1   witness” are expert opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion
    2   testimony is not to provide specialized explanations or interpretations that an
    3   untrained layman could not make if perceiving the same acts or events.”) (quoting
    4   Connecticut, 297 F.3d at 554).
    5         (2) Objection to Bowler Decl. ¶ 8, Ex. 73 (Expert Report of Kristin J. Lieb)
    6   ¶¶ 3, 34-45, 48 on the basis that the purported expert opinion relies on unreliable
    7   hearsay statements. FRE 703; Marcel, 11 F.3d at 567 n.6 (Experts may rely on
    8   hearsay “if the data is reliable and qualified under Rule 703.”); Soden, 714 F.2d at
    9   503-06.
   10
   11   Defendant’s Fact 98:
   12         (1) Objection to Villar Decl. ¶ 2, Ex. 25, on the basis that the fact that Fox
   13   identified six individuals in its Initial Disclosures pursuant to Fed. R. Civ. P.
   14   26(a)(1) is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
   15
   16   Defendant’s Fact 99:
   17         (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 32:12-22, on the basis that the
   18   fact that Ms. Ryan’s position at FBC and interactions with Mr. Bywater are not
   19   relevant to the merits of Fox’s motion or this dispute. FRE 401.
   20
   21   Defendant’s Fact 100:
   22         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 45:23-47:1, 47:4, on the basis that
   23   Mr. Bywater’s lack of knowledge as to the selection of the name “Empire” for
   24   Fox’s television series is not relevant to the merits of Fox’s motion or this dispute.
   25   FRE 401.
   26
   27   Defendant’s Fact 101:
   28         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 49:13-15, 49:19, on the basis that
                                                                        FOX’S MEMORANDUM OF
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    1   Mr. Bywater’s lack of knowledge as to whether Fox conducted any trademark
    2   searches prior to adopting the name “Empire” for Fox’s television series is not
    3   relevant to the merits of Fox’s motion or this dispute. FRE 401.
    4
    5   Defendant’s Fact 102:
    6         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 150:3-9, on the basis that Mr.
    7   Bywater’s lack of knowledge as to how much the network spent marketing Empire
    8   and the fact that Shannon Ryan probably would know is not relevant to the merits
    9   of Fox’s motion or this dispute. FRE 401.
   10
   11   Defendant’s Fact 103:
   12         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 165:23-166:5, 166:11-15, on the
   13   basis that Mr. Bywater’s testimony that marketing would know more about the
   14   reports on the downloads to date of music released from the second season of
   15   Empire is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
   16
   17   Defendant’s Fact 104:
   18         (1) Objection to Villar Decl. ¶ 3 on the basis that Mr. Villar lacks personal
   19   knowledge as to which individuals Fox believes have discoverable information.
   20   FRE 602. Further objection to Villar Decl. ¶ 3 on the basis that Mr. Villar’s
   21   assessment of who Fox included on Fox’s Initial Disclosures is not relevant to the
   22   merits of Fox’s motion or this dispute. FRE 401.
   23
   24   Defendant’s Fact 105:
   25         (1) Objection to Villar Decl. ¶ 3 on the basis that Mr. Villar lacks personal
   26   knowledge as to who Fox’s attorneys of record are, FRE 602, and, indeed, Ms.
   27   Reynolds is not one of Fox’s attorneys of record.
   28
                                                                      FOX’S MEMORANDUM OF
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    1   Defendant’s Fact 106:
    2         (1) Objection to Villar Decl. ¶ 3 on the basis that the percentage of percipient
    3   witnesses who submitted declarations in support of Fox’s motion and were not
    4   disclosed in Fox’s Initial Disclosures is not relevant to the merits of Fox’s motion
    5   or this dispute. FRE 401. Moreover, to the extent defendant claims this is relevant,
    6   defendant’s opposition to Fox’s motion contained declarations from five percipient
    7   witnesses (Ghazi Shami, Ari Simon, Robb McDaniels, Thuy-An Julien, and Patrick
    8   Denard Douthit), and only one of them (Ghazi Shami) was listed in defendant’s
    9   Initial Disclosures.
   10
   11   Defendant’s Fact 107:
   12         (1) Objection to Villar Decl. ¶ 4 on the basis that whether or not Fox had
   13   supplemented its Initial Disclosures as of the date defendant’s opposition was due is
   14   not relevant to the merits of Fox’s motion or this dispute. FRE 401. Moreover, to
   15   the extent defendant claims this is relevant, defendant likewise has not
   16   supplemented or amended its Initial Disclosures to date.
   17
   18   Defendant’s Fact 108:
   19         (1) Objection to Villar Decl. ¶ 7 on the basis that the date of Fox’s initial
   20   document production is not relevant to the merits of Fox’s motion or this dispute.
   21   FRE 401.
   22
   23   Defendant’s Fact 109:
   24         (1) Objection to Villar Decl. ¶ 11 on the basis that the date of the document
   25   productions of third parties Fox Music, Lee Daniels, and Danny Strong is not
   26   relevant to the merits of Fox’s motion or this dispute. FRE 401.
   27
   28
                                                                        FOX’S MEMORANDUM OF
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    1   Defendant’s Fact 110:
    2         (1) Objection to Villar Decl. ¶ 20 on the basis that, under the circumstances,
    3   the number of percipient witnesses Fox has made available for deposition to date is
    4   not relevant to the merits of Fox’s motion or this dispute. FRE 401. As an initial
    5   matter, Fox closed for the holidays from December 24 through January 4, so Fox’s
    6   witnesses were unavailable during this period. More importantly, defendant
    7   stipulated to the parties’ summary judgment briefing schedule without indicating it
    8   would need to depose any Fox witnesses, let alone a specific number, prior to the
    9   date its opposition was due.
   10
   11   Defendant’s Fact 111:
   12         (1) Objection to Villar Decl. ¶ 25 on the basis that, under the circumstances,
   13   the fact that Fox had not provided confirmed dates for expert witnesses Ted Cohen
   14   and Erich Joachimsthaler is not relevant to the merits of Fox’s motion or this
   15   dispute. FRE 401. As an initial matter, defendant stipulated to the parties’
   16   summary judgment briefing schedule without indicating it would need to depose or
   17   have confirmed dates for any expert witnesses, let alone Mr. Cohen and Mr.
   18   Joachimsthaler specifically, prior to the date its opposition was due. Moreover,
   19   understanding that not all depositions would be completed prior to summary
   20   judgment briefing, defendant identified certain “priority” witnesses it wanted to
   21   depose first, schedule permitting. Neither Mr. Cohen nor Mr. Joachimsthaler were
   22   among these “priority” witnesses. Finally, contrary to Mr. Villar’s representations,
   23   Mr. Cohen’s report is cited once in Fox’s motion and Mr. Joachimsthaler’s report is
   24   not cited in Fox’s motion at all, further reinforcing the lack of relevance of
   25   defendant’s purported fact.
   26
   27   Defendant’s Fact 112:
   28         (1) Objection to Villar Decl. ¶¶ 2-34 on the basis that Mr. Villar’s declaration
                                                                        FOX’S MEMORANDUM OF
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    1   presents improper legal arguments as to Empire Distribution’s purported inability to
    2   oppose Fox’s motion for summary judgment. FRE 701. Further objection to Villar
    3   Decl. ¶¶ 2-34 on the basis that, under the circumstances, the discovery defendant
    4   has requested from Fox is not relevant to the merits of Fox’s motion or this dispute.
    5   Defendant stipulated to the parties’ summary judgment briefing schedule without
    6   indicating it required any specific pieces of discovery prior to the date its opposition
    7   was due. Moreover, Fox produced documents on these topics nearly one month
    8   before defendant’s opposition was due.
    9
   10   Defendant’s Fact 113:
   11         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 15:22, 16:3-7, on the basis that
   12   whether or not Fox “once owned a record label” that “did not succeed” is not
   13   relevant to the merits of Fox’s motion or this dispute. FRE 401.
   14
   15   Defendant’s Fact 114:
   16         (1) Objection to Bowler Decl. ¶ 4, 15:8-17:2, 17:6-19:9, 19:11-24, 20:2-5,
   17   and 21:16-22:2, on the basis that Mr. Bywater’s work on soundtracks for films and
   18   music for television shows prior to obtaining his current position is not relevant to
   19   the merits of Fox’s motion or this dispute. FRE 401.
   20
   21   Defendant’s Fact 115:
   22         (1) Objection to Bowler Decl. ¶ 4, 18:22-19:9 and 19:11-17, on the basis that
   23   the existence of separate departments for film music and television music at Fox is
   24   not relevant to the merits of Fox’s motion or this dispute. FRE 401.
   25
   26   Defendant’s Fact 118:
   27         (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 24:14-25:5, on the basis that
   28   defendant’s citation to Mr. Bywater’s testimony about deals for Glee is not relevant
                                                                        FOX’S MEMORANDUM OF
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    1   to the merits of Fox’s motion or this dispute. FRE 401.
    2
    3   Defendant’s Fact 121:
    4          (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 26:24-25, 27:4-8, 27:11, 27:16-
    5   17, on the basis that defendant’s counsel asked Mr. Bywater to make an
    6   impermissible legal conclusion as to Fox’s rights. FRE 701.
    7
    8   Defendant’s Fact 124:
    9          (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 34:9-10, 34:13-14, on the basis
   10   that the similarities between Glee and Empire are not relevant to this dispute. FRE
   11   401.
   12
   13   Defendant’s Fact 125:
   14          (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 34:16-22, on the basis that Glee’s
   15   “super great” use of music and similarities to Empire are not relevant to this
   16   dispute. FRE 401.
   17
   18   Defendant’s Fact 126:
   19          (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 34:23-35:1, on the basis that the
   20   release of series music for Glee is not relevant to the merits of Fox’s motion or this
   21   dispute. FRE 401.
   22
   23   Defendant’s Fact 127:
   24          (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at 36:6-11, on the basis that
   25   defendant’s counsel asked Mr. Bywater to make a comparison between Empire and
   26   Glee, which is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
   27
   28
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    1   Defendant’s Fact 131:
    2          (1) Objection to Bowler Decl. ¶ 4, Ex. 69 at Exs. 3, 4, on the basis that these
    3   articles are out of court statements offered to prove the truth of the matter asserted
    4   and thus constitute impermissible hearsay not subject to any exception. FRE 801,
    5   802.
    6
    7   Defendant’s Fact 144:
    8          (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 89:10-25, 90:1, 90:8-14, 91:2-3,
    9   91:6-7, 91:10-17, 92:4-7, 92:10-19, and 93:1-11, on the basis that Mr. Bywater
   10   lacks personal knowledge of the details of the story line with respect to Snoop
   11   Dogg’s appearance on Empire. FRE 602. Further objection to Bywater Ex. 7 on
   12   the basis that the statements regarding Snoop Dogg’s appearance on Empire are out
   13   of court statements offered to prove the truth of the matter asserted and thus
   14   constitute impermissible hearsay not subject to any exception. FRE 801, 802.
   15
   16   Defendant’s Fact 147:
   17          (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 83:25-84:7, 84:11-21, and Bywater
   18   Ex. 6 on the basis that the quotes statements are out of court statements offered to
   19   prove the truth of the matter asserted and thus constitute impermissible hearsay not
   20   subject to any exception. FRE 801, 802.
   21
   22   Defendant’s Fact 149:
   23          (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 104:13-22, 105:7-22, and Bywater
   24   Ex. 8 on the basis that whether Fox contemplated a digital-only release of the
   25   Empire soundtrack is not relevant to the merits of Fox’s motion or this dispute.
   26   FRE 401. Further objection to Bywater Ex. 8 on the basis that the statements
   27   regarding the possibility of a digital-only release are out of court statements offered
   28   to prove the truth of the matter asserted and thus constitute impermissible hearsay
                                                                        FOX’S MEMORANDUM OF
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    1   not subject to any exception. FRE 801, 802.
    2
    3   Defendant’s Fact 157:
    4         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 161:18-25, 162:9-12, and Bywater
    5   Ex. 17 on the basis that whether Fox receives Soundscan sales reports from
    6   Columbia is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
    7
    8   Defendant’s Fact 160:
    9         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 85:3-10, 85:14-17, on the basis
   10   that the fact that Mr. Bywater’s comparison of Glee and Empire is not relevant to
   11   the merits of Fox’s motion or this dispute. FRE 401.
   12
   13   Defendant’s Fact 163:
   14         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 86:12-14, 86:17-24, 87:3-11, on
   15   the basis that Fox’s consideration of a tour with the actors from Empire is not
   16   relevant to the merits of Fox’s motion or this dispute. FRE 401.
   17
   18   Defendant’s Fact 164:
   19         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 189:16-190:7, 190:10-12, on the
   20   basis that Mr. Bywater lacks personal knowledge of any purported promotion by
   21   Fox at the South by Southwest festival. FRE 602. Further objection to Bowler
   22   Decl. ¶ 4, Ex. 69, 189:16-190:7, 190:10-12 and Bywater Ex. 24 on the basis that
   23   whether Fox sent a bus wrap with unknown content to the South by Southwest
   24   festival is not relevant to the merits of Fox’s motion or this dispute. FRE 401.
   25
   26   Defendant’s Fact 165:
   27         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 196:11-197:6, on the basis that
   28   whether a Pepsi commercial was written into Empire’s storyline is not relevant to
                                                                      FOX’S MEMORANDUM OF
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    1   the merits of Fox’s motion or this dispute. FRE 401. Objection to Bywater Ex. 27
    2   on the basis that the statements regarding potential sponsorships and partnerships
    3   are out of court statements offered to prove the truth of the matter asserted and thus
    4   constitute impermissible hearsay not subject to any exception. FRE 801, 802.
    5
    6   Defendant’s Fact 166:
    7         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 200:10-11, 200:18-201:5, on the
    8   basis that Mr. Bywater has no personal knowledge of whether an Empire promo for
    9   the song “No Apologies” aired at the BET Hip-Hop Awards. FRE 602. Further
   10   objection to Bowler Decl. ¶ 4, Ex. 69, 200:10-11, 200:18-201:5 and Bywater Ex. 29
   11   on the basis that whether cast members from Empire have performed at BET
   12   awards shows is not relevant to the merits of Fox’s motion or this dispute. FRE
   13   401. Further objection to Bywater Ex. 29 on the basis that the statements regarding
   14   the use of “No Apologies” for an Empire promotion to air on the BET awards are
   15   out of court statements offered to prove the truth of the matter asserted and thus
   16   constitutes impermissible hearsay not subject to any exception. FRE 801, 802.
   17
   18   Defendant’s Fact 168:
   19         (1) Objection to Bowler Decl. ¶ 4, Ex. 69, 208:3-6 209:15-24, 210:4-5,
   20   210:8-14, and Bywater Ex. 30 on the basis that Mr. Bywater lacks personal
   21   knowledge of the intended meaning of Mr. Melnick’s statements. FRE 602.
   22   Further objection to Mr. Melnick’s statements in Bywater Ex. 30 on the basis that
   23   they are out of court statements offered to prove the truth of the matter asserted and
   24   thus constitute impermissible hearsay not subject to any exception. FRE 801, 802.
   25
   26   Defendant’s Fact 169:
   27         (1) Objection to Shami Decl. ¶¶ 7 on the basis that it contains improper
   28   opinion testimony from a lay witness as to the recognition of artists with whom
                                                                       FOX’S MEMORANDUM OF
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    1   Empire Distribution has worked. FRE 701. Mr. Shami was not designated as an
    2   expert witness by defendant, yet he impermissibly provides opinions as to the
    3   caliber of various artists based on his purported specialized knowledge and
    4   experience. See Figueroa-Lopez, 125 F.3d at 1246 (opinions based on
    5   “perceptions, education, training, and experience of the witness” are expert
    6   opinions); Munchkin, 2015 WL 774046, at *3 (“Lay opinion testimony is not to
    7   provide specialized explanations or interpretations that an untrained layman could
    8   not make if perceiving the same acts or events.”) (Connecticut, 297 F.3d at 554).
    9         (2) Objections to Bowler Decl. ¶ 4, Ex. 69, 202:1-205:3 on the basis that Mr.
   10   Bywater’s familiarity with certain artists is not relevant to the merits of Fox’s
   11   motion or this dispute.
   12
   13   Defendant’s Fact 170:
   14         (1) Objection to Bowler Decl. ¶¶ 10-11 on the basis that it contains an
   15   impermissible legal conclusion unsupported that is contradicted by the facts. FRE
   16   701. Indeed, defendant’s counsel told Fox that its counterclaims pled forward
   17   confusion. Lens Decl. ¶ 7.
   18
   19   Defendant’s Fact 171:
   20         (1) Objection to Bowler Decl. ¶¶ 10-11 (paragraph 12 does not exist) on the
   21   basis that Mr. Bowler lacks personal knowledge as to whether Fox was aware of
   22   Empire Distribution’s forward and reverse confusion claims. FRE 602. Indeed,
   23   Fox’s evidence shows that it was not aware that Empire Distribution intended to
   24   assert a reverse confusion claim. Lens Decl. ¶ 7.
   25
   26
   27
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    1
    2   Dated: January 15, 2016                     DANIEL M. PETROCELLI
    3                                               MOLLY M. LENS
                                                    CAMERON H. BISCAY
    4                                               O’MELVENY & MYERS LLP
    5
                                                    By: /s/ Daniel M. Petrocelli
    6                                                      Daniel M. Petrocelli
    7
                                                    Attorneys for Twentieth Century Fox
    8                                               Television, a division of Twentieth
    9                                               Century Fox Film Corporation, and
                                                    Fox Broadcasting Company
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